      Case 6:22-cv-00043-NKM-RSB Document 34 Filed 10/04/22 Page 1 of 1 Pageid#: 130
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Western District
                                                  __________ DistrictofofVirginia
                                                                          __________


 POWER HOME SOLAR, LLC D/B/A PINK ENERGY                          )
                             Plaintiff                            )
                                v.                                )      Case No.   6:22-CV-00043
          GENERAC POWER SYSTEMS, INC.                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Generac Power Systems, Inc.                                                                                        .


Date:          10/04/2022                                                                  s/Gina Aiello Jordt
                                                                                           Attorney’s signature


                                                                                       Gina Aiello Jordt, 6317511
                                                                                       Printed name and bar number
                                                                                           Mayer Brown LLP
                                                                                          71 S. Wacker Drive
                                                                                          Chicago, IL 60606

                                                                                                 Address

                                                                                       gjordt@mayerbrown.com
                                                                                             E-mail address

                                                                                            (312) 701-7030
                                                                                            Telephone number

                                                                                            (312) 701-7711
                                                                                              FAX number


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